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Case 3:22-cv-00063-NKM Document 72 Filed 01/26/24 Pagelof3 Pageid#: 911

IN THE UNITED STATES DISTRICT COURT
FOR WESTERN DISTRICT OF VIRGINIA
CHARLOTTESVILLE DIVISION

DR. ROBERT W. MALONE
Plaintiff

v. Case Number: 3:22-cv-63
PETER R. BREGGIN, MD.
GINGER ROSS BREGGIN,

AMERICA OUT LOUD, AND
DR. JANE RUBY,

Defendants.

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MOTION TO SEAL ATTACHMENTS
Defendants Dr. Peter R. Breggin, MD and Ginger Ross Breggin (collectively, “the
Breggins,” or “the defendants”), through undersigned counsel, and pursuant to Local Rule
9 of the Local Rules for the United States District Court for the Western District of
Virginia, moves to seal defendants, Dr. Peter R. Breggin and Ginger Ross Breggin,
attachment to Document 68-1 and 70-1. As support for this motion, the defendants state as
follows:

1. Counsel for the Breggins is currently serving in the Virginia General Assembly
as a state senator and is away from his law firm at this time. Counsel’s legal
assistant inadvertently filed a copy of the firm’s American Express account
billing statement that has now become Attachment 68-1 and 70-1 in the Pacer
system in this case. These documents have nothing to do with the above-styled
matter, are irrelevant to any matter currently before the Court, and were filed

erroneously. The documents contain sensitive financial information regarding
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the firm and its clients that are not for public dissemination. The law firm has a
privacy interest in these documents which require sealing them from public

access.

WHEREFORE, your Defendants, by the undersigned counsel, respectfully pray that
their motion be granted.

Respectfully Submitted,

PETER R. BREGGIN, MD.
GINGER ROSS BREGGIN
By Counsel

By /s/ William M. Stanley

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CERTIFICATE

I hereby certify that on the 26" day of January, 2024, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to the following:

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By /s/ William M. Stanley

